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  IN THE UNITED STATES DISTRICT COURT
  FOR THE SOUTHERN DISTRICT OF FLORIDA
  -----------------------------------------------------------------x
  JIANGMEN BENLIDA PRINTED                                             CM/ECF
  CIRCUIT CO., LTD.,
                                                                       Civil Action No.: 21-60125-CIV-
                               Plaintiff,                              SCOLA/SNOW

               -against-                                               Plaintiff’s Answer to Defendant’s
                                                                       Counterclaim
  CIRCUITRONIX LLC,

                                Defendant.                             Jury Trial Demanded
  -----------------------------------------------------------------x



          Plaintiff Jiangmen Benlida Printed Circuit Co., Ltd., through the undersigned attorneys,

  alleges as follows for its answer to defendant Circuitronix LLC’s counterclaim:

                                                   Introduction
          1.        Admit as to the characterization of the nature of the action, but deny any

  implication that there has been a breach by Benlida.

          2.        Admit.

          3.        Admit.

          4.        Admit that Benlida and Circuitronix entered into a contract, but deny that it gave

  rise to fiduciary duties of the breadth and scope alleged, and deny any breach thereof, and refer

  all issues of law to the court as to the breadth and scope of such alleged duties.

          5.        Deny.




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                                               Parties
  Circuitronix
         6.      Admit.

         7.      Deny knowledge or information sufficient to form a belief.

         8.      Admit.

  Benlida

         9.      Admit.

         10.     Admit that Benlida is a manufacturer of printed circuit boards, but deny as

  ambiguous the allegation that it provides contract manufacturing related work and services

  involving printed circuit boards.

                                      Jurisdiction and Venue
         11.     Plaintiff repeats and realleges the above answers.

         12.     Admit.

         13.     Admit.

         14.     Admit that all conditions precedent to suit have been satisfied, but deny that there

  has been any waiver.

                                        General Allegations
  Background

         15.     Deny knowledge or information sufficient to form a belief.

         16.     Admit.

         17.     Admit.

         18.     Deny knowledge or information sufficient to form a belief.

  The Manufacturing Agreement

         19.     Admit.


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            20.    Admit.

            21.    Admit.

            22.    Admit, but deny any implication that Benlida was required to produce in any

  greater capacity than had been contractually agreed to.

            23.    Deny as alleged, inasmuch as acceptance and fulfillment is based on contractually

  agreed upon supplies, not to supplies in excess of such agreed upon amounts.

            24.    Admit, to the extent that Benlida is required to provide adequate justification to

  increase prices, and rising materials costs warrants increases in prices, and not that quantities in

  excess of the contractual amounts are not subject to such price limitations.

            25.    Admit.

            26.    Admit.

            27.    Admit that the letter agreement uses the word “agent,” but denies that Benlida

  was an agent in fact or in law, and refer all issues of law to the court as to same.

            28.    Admit that Benlida and Circuitronix entered into a contract, but deny that it gave

  rise to fiduciary duties of the breadth and scope alleged, deny any breach thereof, and refer all

  issues of law to the court as to same.

  Circuitronix’s Performance, Payments and Credit Balance

            29.    Admit.

            30.    Admit. 1

            31.    Deny knowledge or information sufficient to form a belief.

            32.    Deny.




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      Deny, as alleged, the allegations in the footnote to paragraph 30.
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          33.     Deny, as alleged, and aver that since December, 2019, CTX has prepaid for all

  orders with Benlida and ROK, meaning that all purchase orders and invoices have been paid in

  full even before Benlida or ROK ship the product to CTX.

          34.     Deny.

          35.     Deny.

          36.     Deny as alleged, and note that overpayments offset past debt, on a FIFO – first-in-

  first-out – basis.

  Benlida’s Breaches

          37.     Deny.

          38.     Deny.

          39.     Deny.

                  39(a). Deny.

                  39(b). Deny.

                  39(c). Deny.

                  39(d). Deny.

                  39(e). Deny.

          40.     Deny.

                  40(a). Deny.

                  40(b). Deny.

                  40(c). Deny.

                  40(d). Deny.

                  40(e). Deny.

          41.     Deny.


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                                   Count I (Breach of Contract)
        42.     Plaintiff repeats and realleges the above answers.

        43.     Admit.

        44.     Deny.

        45.     Deny.

        46.     Deny.

                               Count II (Breach of Fiduciary Duty)
        47.     Plaintiff repeats and realleges the above answers.

        48.     Deny as alleged, and refer all issues of law to the court.

        49.     Deny.

        50.     Deny.

        51.     Deny.

        52.     Deny.

                                                 ***
                                            Jury Demand
        Plaintiff demands a trial by jury as to all issues so triable.




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         WHEREFORE, plaintiff Jiangmen Benlida Printed Circuit Co., Ltd. demands judgment

  against defendant Circuitronix LLC (a) for $13,655,335.93; (b) for prejudgment interest in

  accordance with the contract between the parties or statutory interest from the date of loss, plus

  costs; and (c) for such other and further relief as this court deems proper and just.

  Dated: New York, New York
         November 29, 2021                                      Respectfully submitted,

                                                                MAZZOLA LINDSTROM LLP


                                                                /s/Jean-Claude Mazzola
                                                                By: Jean-Claude Mazzola
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